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                 Exhibit F
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                                  Affidavit of Kira Sutter
I, Kira Sutter, am over the age of 18, a resident of Texas, and do hereby state under penalty
of perjury that the following is true and accurate to the best of my knowledge and memory. I
testify that:
   1. My name is Kira Sutter. I am a student at the University of Texas at San Antonio
      and the Co-Chair of Young Democratic Socialists of America at the University of
      Texas at San Antonio (UTSA YDSA).
   2. UTSA YDSA has organized protests and events at the University of Texas at San
      Antonio to bring attention to the ongoing genocide of Palestinians in Gaza at the
      hands of the State of Israel.
   3. At these protests and events, UTSA YDSA board members and general members
      have criticized the state of Israel through chants and signs, referring to Israel as a
      racist state founded through the ethnic cleansing of indigenous Palestinians.
      Specifically, we commonly use a chant that ends with “Israel is a racist state.”
   4. UTSA YDSA will continue to hold and organize protests and events where we
      criticize Israel and refer to Israel as a racist state.
   5. At these protests and events, UTSA YDSA board members and general members
      have chanted the slogan “From the river to the sea, Palestine will be free,” an
      aspirational call to Palestinian freedom and liberation.
   6. UTSA YDSA will continue to hold and organize protests and events where the
      slogan “from the river to the sea, Palestine will be free” is chanted.
   7. UTSA YDSA engaged in an effort to have the university administration reject
      Executive Order GA-44 and declare they will not enforce it. UTSA YDSA publicly
      called on the administration to reject the Executive Order. The university did not
      respond to this campaign.
   8. Since Greg Abbot Signed GA-44 on March 27, 2024, UTSA YDSA has experienced
      increased hostility and repression of speech from officials at the University of Texas
      at San Antonio.
          a. On April 23, 2024, UTSA YDSA held a “die in” demonstration at the
              Sombrilla (the university’s main plaza). A student at the demonstration held
              up a sign with the slogan “from the river to the sea, Palestine will be free.”
              Dean of Students LaTonya Robinson, citing the executive order, approached
              YDSA leadership and told us that the student must take down the sign. We
              complied and asked the student to put the sign away.
          b. On May 1 2024, UTSA YDSA help a demonstration on campus in
              coordination with the university’s Students for Justice in Palestine chapter.
              Prior to the start of the demonstration, a university official approached us and
              stated that we could not chant “From the River to the Sea, Palestine will be
              free.” To avoid any repercussions, we complied with the official’s order.
          c. On May 3, 2024, UTSA YDSA met with LaTonya Robinson to, among other
              things, discuss how the executive order would affect UTSA YDSA’s on
              campus activities for Palestine. At the meeting, Robinson said that the
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              executive order made it clear that the students could not chant “From the
              river to the sea, Palestine will be free.” When a UTSA YDSA representative
              asked what repercussions there would be for chanting the slogan, Robinson
              stated they would “defer the group to law enforcement.”
I, Kira Sutter, swear under penalty of perjury that the foregoing is true and correct to the
best of my knowledge and memory.


Dated: June 26, 2024                               _____________________________
                                                   Kira Sutter
